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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

EUGENE MARTINEZ, DAVID SILVA,                 §
MARIO OLIVAREZ, RUBY MARTINEZ,                §
and SILVIA TREVINO,                           §
                 Plaintiffs,                  §
                                              §
                                              §
                                              §
vs.                                           §            CIVIL ACTION NO. 5:16-cv-00870
                                              §
                                              §
                                              §
                                              §
SUPERIOR HEALTHPLAN, INC. and                 §
CENTENE CORPORATION,                          §
               Defendants.                    §

               PLAINTIFFS’ SECOND AMENDED ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COME PLAINTIFFS EUGENE MARTINEZ (“E. Martinez”), DAVID SILVA

(“Silva”), MARIO OLIVAREZ (“Olivarez”), RUBY MARTINEZ (“R. Martinez”), and SILVIA

TREVINO (“Trevino”) (collectively referred to as “Plaintiffs”), by and through their

undersigned attorneys of record, and file this, their Second Amended Original Complaint against

SUPERIOR HEALTHPLAN, INC. (“Superior”) and CENTENE CORPORATION (“Centene”)

(collectively referred to as “Defendants”). For cause of action, Plaintiffs would show unto the

Court the following:

                                            I.
                                       THE PARTIES

       1.       PLAINTIFF EUGENE MARTINEZ (“E. Martinez”) is a Texas resident living at

11120 Buttercup, Adkins, Bexar County, Texas 78101.

       2.       PLAINTIFF DAVID SILVA (“Silva”) is a Texas resident living at 11063 Moonlit
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Park, San Antonio, Bexar County, Texas 78249.

        3.       PLAINTIFF MARIO OLIVAREZ (“Olivarez”) is a Texas resident living at 6629

White Wing Drive, Corpus Christi, Nueces County, Texas 78413.

        4.       PLAINTIFF RUBY MARTINEZ (“R. Martinez”) is a Texas resident living at

11524 Bear Paw Path, San Antonio, Bexar County, Texas 78245.

        5.       PLAINTIFF SILVIA TREVINO (“Trevino”) is a Texas resident living at 4450

Aspen Grove Drive, Corpus Christi, Nueces County, Texas 78413.

        6.       DEFENDANT SUPERIOR HEALTHPLAN, INC. (“Superior”) is a for-profit

corporation engaged in interstate commerce in the State of Texas and may be served with

summons on CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

Superior is a wholly owned subsidiary of Centene.1

        7.       DEFENDANT CENTENE CORPORATION (“Centene”) is a for-profit

corporation engaged in interstate commerce in the State of Texas and may be served with

summons on CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

Centene is a Fortune 500 and Fortune Global 500 Company with its national headquarters

located at Centene Plaza, 7700 Forsyth Boulevard, St. Louis, Missouri 63105.2 Centene sells

health plans through Medicaid to low income families, individuals with disabilities, and the

elderly by supporting TANF (Temporary Assistance for Needy Families), CHIP (Children’s

Health Insurance Program), Foster Care, ABD, and Long-Term Care, Medicare Advantage Dual

Eligible Special Needs Plans (D-SNPs) and Medicare-Medicaid Plan (MMP), and the Health



1
  See Docket Entry No. 5.
2
  See Exhibit 1, Centene Corporation Homepage, which is incorporated by reference into this Complaint as if fully
set forth herein.

                                                        2
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Insurance Marketplace.3 Centene sells these various products in twenty-eight states in the United

States of America.4 In 2016, Centene generated approximately $46 billion in revenue, boasted

12.1 million members/customers, served two international markets, and employed 30,900

employees.5 Centene’s United States Securities and Exchange Commission Form 8-K filed

October 23, 2017, including Mr. Edmund E. Kroll, Jr.’s, Senior Vice President, Finance &

Investor Relations, press release, indicate that Centene has generated $11.8 billion dollars in

revenue through the third quarter and has customers in Arizona, Arkansas, California, Florida,

Georgia, Illinois, Indiana, Kansas, Louisiana, Massachusetts, Michigan, Minnesota, Mississippi,

Missouri, Nebraska, Nevada, New Hampshire, New Mexico, Ohio, Oregon, South Carolina,

Tennessee, Texas, Vermont, Washington, and Wisconsin.6 On October 23, 2017, Centene’s

stock traded on the Nasdaq under the symbol “CNC” at $94.56 per share.7

        8.       At all relevant times hereto, Plaintiffs were employees of Defendants, as defined

by and within the meaning of 29 U.S.C. § 203(e)(1).

        9.       At all relevant times hereto, Defendants were the employers of Plaintiffs, as

defined by and within the meaning of 29 U.S.C. § 203(d).

        10.      Defendants employed Plaintiffs in commerce or in the production of goods for

commerce, and had them handling, selling, or otherwise working on goods or materials that have


3
   See Exhibit 2, Centene Corporation What We Do Webpage, which is incorporated by reference into this
Complaint as if fully set forth herein.
4
  See Exhibit 3, Centene Corporation 2017 Investor Day Brochure, which is incorporated by reference into this
Complaint as if fully set forth herein.
5
  See Exhibit 3, Centene Corporation 2017 Investor Day Brochure, which is incorporated by reference into this
Complaint as if fully set forth herein.
6
  See Exhibit 4, Centene Corporation United States Securities and Exchange Commission Form 8-K Brochure,
which is incorporated by reference into this Complaint as if fully set forth herein.
7
  See Exhibit 5, Centene Corporation Stock Quote, which is incorporated by reference into this Complaint as if fully
set forth herein.

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been moved in or produced for commerce by any person.

        11.    Centene, individually and as part of an enterprise entailing Superior, generated

annual gross value of sales made or business done of not less than $500,000.00. In fact, Centene

generated approximately $46 billion of revenue in calendar year 2016 and, as of the close of the

third quarter of 2017, generated $11.8 billion of revenue.

        12.    Defendants’ business or businesses were organized under unified operation or

common control, employed at least two persons engaged in commerce or the production of

goods for commerce, and had annual gross sales of at least $500,000. In fact, Centene generated

approximately $46 billion of revenue in calendar year 2016 and, as of the close of the third

quarter of 2017, generated $11.8 billion of revenue.

        13.    Centene and Superior jointly and severally employed Plaintiffs because they

suffered or permitted Plaintiffs to work for them. Centene and Superior shared related and

overlapping employment of Plaintiffs. Alternatively, Centene and Superior were the alter ego

each of the other creating an economic dependence. Plaintiffs were, consequently, employees of

both.

        14.    Superior is a wholly owned subsidiary of Centene.8

                                             II.
                                        JURISDICTION

        15.    Plaintiffs assert claims against Defendants pursuant to the Fair Labor Standards

Act (hereinafter “FLSA”), the Employee Retirement Income Security Act (“ERISA”), and the

Consolidated Omnibus Budget Reconciliation Act (“COBRA”) thereby invoking the federal

question jurisdiction conferred upon this Court pursuant to 28 U.S.C. § 1331.




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                                                      III.
                                                     VENUE

         16.      Because the acts and omissions forming the basis of this suit occurred in Bexar

County, Texas, venue is appropriate in the San Antonio Division of the Western District of

Texas.

                                                IV.
                                         STATEMENT OF FACTS

         17.      On or about November 30, 2012, Plaintiff E. Martinez and Superior entered into

an Employed Sales Rep and Exclusive Independent Sales Agent Agreement (“Agreement”).9

The Agreement was between Defendants located at 7711 Carondelet Avenue, St. Louis, Missouri

63105 and E. Martinez subject to the governing law of Missouri. The Agreement constitutes a

written contract upon which Defendants and E. Martinez engaged in interstate commerce, as

defined by the FLSA, and upon which E. Martinez claims coverage under the FLSA.

         18.      On or about December 1, 2012, Plaintiff Silva and Superior entered into an

Employed Sales Rep and Exclusive Independent Sales Agent Agreement.10 The Agreement was

between Defendants located at 7711 Carondelet Avenue, St. Louis, Missouri 63105 and Silva

subject to the governing law of Missouri. The Agreement constitutes a written contract upon

which Defendants and Silva engaged in interstate commerce, as defined by the FLSA, and upon

which Silva claims coverage under the FLSA.

         19.      On or about December 1, 2012, Plaintiff Olivarez and Superior entered into an


8
  See Docket Entry No. 5.
9
  See Exhibit 6, Employed Sales Rep and Exclusive Independent Sales Agent Agreement between E. Martinez and
Superior, dated November 30, 2012, which is incorporated by reference into this Complaint as if fully set forth
herein.
10
   See Exhibit 7, Employed Sales Rep and Exclusive Independent Sales Agent Agreement between Silva and
Superior, dated December 1, 2012, which is incorporated by reference into this Complaint as if fully set forth herein.

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Employed Sales Rep and Exclusive Independent Sales Agent Agreement.11 The Agreement was

between Defendants located at 7711 Carondelet Avenue, St. Louis, Missouri 63105 and Olivarez

subject to the governing law of Missouri. The Agreement constitutes a written contract upon

which Defendants and R. Martinez engaged in interstate commerce, as defined by the FLSA, and

upon which R. Martinez claims coverage under the FLSA.

         20.      On or about November 30, 2012, Plaintiff R. Martinez and Superior entered into

an Employed Sales Rep and Exclusive Independent Sales Agent Agreement.12 The Agreement

was between Defendants located at 7711 Carondelet Avenue, St. Louis, Missouri 63105 and R.

Martinez subject to the governing law of Missouri. The Agreement constitutes a written contract

upon which Defendants and R. Martinez engaged in interstate commerce, as defined by the

FLSA, and upon which R. Martinez claims coverage under the FLSA.

         21.      On or about November 30, 2012, Plaintiff Trevino and Superior entered into an

Employed Sales Rep and Exclusive Independent Sales Agent Agreement.13 The Agreement was

between Defendants located at 7711 Carondelet Avenue, St. Louis, Missouri 63105 and R.

Martinez subject to the governing law of Missouri. The Agreement constitutes a written contract

upon which Defendants and R. Martinez engaged interstate commerce, as defined by the FLSA,

and upon which R. Martinez claims coverage under the FLSA.

         22.      Plaintiffs job duties and responsibilities included, but were not limited to,


11
   See Exhibit 8, Employed Sales Rep and Exclusive Independent Sales Agent Agreement between Olivarez and
Superior, dated December 1, 2012, which is incorporated by reference into this Complaint as if fully set forth herein.
12
   See Exhibit 9, Employed Sales Rep and Exclusive Independent Sales Agent Agreement between R. Martinez and
Superior, dated November 30, 2012, which is incorporated by reference into this Complaint as if fully set forth
herein.
13
   See Exhibit 10, Employed Sales Rep and Exclusive Independent Sales Agent Agreement between Trevino and
Superior, dated November 30, 2012, which is incorporated by reference into this Complaint as if fully set forth
herein.

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soliciting Medicare Advantage Plans to the public on behalf of Superior and Centene. Plaintiffs

attempted to sell Defendants’ wide-ranging Medicare and Medicaid insurance products

originating from St. Louis, Missouri to the general public in Texas.

        23.        By and through their Second Amended Original Complaint, Plaintiffs plead that

Defendants, jointly and severally, retained the exclusive right to hire and fire them, the exclusive

right to set the rules and regulations of their work, the exclusive right to designate Plaintiffs’

supervisors and other individuals to whom they were required to report, the exclusive right to set

and, in this case, limit Plaintiffs’ ability to influence the enterprise, the exclusive right to wrongly

classify Plaintiffs as independent contractors and not employees, and the exclusive right to set

and, in this case, deny Plaintiffs’ ability to share in Defendants’ profits, losses, and liabilities.

Defendants, jointly and severally, maintained a common law employer-employee relationship

with Plaintiffs.

        24.        By and through their Second Amended Original Complaint, Plaintiffs plead that

Defendants, jointly and severally, limited the initiative and discretion that they could exercise,

directed that they work under the close supervision of supervisors, required that they command

basic skills set to perform the essential functions of their job duties and responsibilities,

furnished equipment such as computers, cell phones, and sales materials to them, directed that

they work at offices located at 7990 IH 10 West, Suite 300, San Antonio, Texas 78230,

continuously employed them for years at a time, controlled the manner in which they paid

Plaintiffs in regular payroll, retained the exclusive authority to terminate them without notice or

explanation, retained the exclusive authority to grant or deny Plaintiffs’ requests for leave or

time off, retained the exclusive authority to define whether Plaintiffs’ work was integral to their



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enterprise, retained the exclusive authority to grant or deny Plaintiffs retirement benefits, pay

their social security taxes, and employee benefits.        As a matter of “economic reality,”

Defendants, jointly and severally, employed Plaintiffs as employees and not independent

contractors.

       25.     Superior, jointly and severally, exercised substantial control over Plaintiffs’ job

duties and responsibilities including, but limited to, defining the geographic areas in which

Plaintiffs could work, defining the targeted customer base, limiting the authority that Plaintiffs

could exercise over potential customers, imposing training requirements and service of

customers, restricted the use of approved marketing materials, imposing record-keeping

responsibilities, requiring minimum insurance coverage, and forced Plaintiffs to provide

indemnification.

       26.      Centene, jointly and severally, exercised substantial control over Plaintiffs’ job

duties and responsibilities including, but limited to, defining the geographic areas in which

Plaintiffs could work, defining the targeted customer base, limiting the authority that Plaintiffs

could exercise over potential customers, imposing training requirements and service of

customers, restricted the use of approved marketing materials, imposing record-keeping

responsibilities, requiring minimum insurance coverage, and forced Plaintiffs to provide

indemnification. Defendants exercised the right to control Plaintiffs’ conduct in every aspect of

their job duties and responsibilities.

       27.      Although Plaintiffs executed written agreements with Superior, Centene also

maintained an employer relationship with Plaintiffs as evidenced by payroll and Internal




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Revenue Service records.14 Centene issued payroll checks made in the name of “Centene

Management Company LLC” on behalf of “Centene Corporation” to Plaintiff E. Martinez on

September 12, 2010 in the amount of $1,780.00. Centene also issued a Form 1099-MISC made

in the name of “Centene Management Company LLC” in 2013 to R. Martinez.                                    Upon

information and belief, Centene issued similar payroll and Internal Revenue Service documents

to all Plaintiffs, establishing itself as an employer that paid Plaintiffs for work performed.

Plaintiffs contend that Centene Management Company LLC, on behalf of Centene, paid wages

originating in St. Louis, Missouri to Plaintiffs located in Texas. The wage payments from

Centene in Missouri to Plaintiffs in Texas constitute interstate commerce, as defined by the

FLSA, and upon which Plaintiffs claim coverage under the FLSA.

        28.      Defendants, jointly and severally, obligated Plaintiffs to attend mandatory training

in various parts of Texas. Defendants, jointly and severally, also obligated Plaintiffs to attend

mandatory training requiring out-of-state travel, including travel to Defendants’ headquarters

located in St. Louis, Missouri.           On at least one occasion during their employment with

Defendants, Plaintiffs were ordered to travel to St. Louis, Missouri for mandatory job training.

The mandatory training conducted in Missouri constitute interstate commerce, as defined by the

FLSA, and upon which Plaintiffs claims coverage under the FLSA.

        29.      Because Plaintiffs’ jobs often required that they talk to and meet with customers

during and after the regular work day, Plaintiffs frequently worked numerous hours well in

excess of forty (40) hours per week.

        30.      Despite the heavy workload and excessive overtime hours that Plaintiffs worked,


14
   See Exhibit 11, Centene Payroll check to E. Martinez, dated September 21, 2010, which is incorporated by
reference into this Complaint as if fully set forth herein; See Exhibit 12, Centene Form 1099-MISC to R. Martinez,

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Defendants did not keep or maintain any time records, time sheets, punch cards, or other

documents verifying the hours Plaintiffs worked.

        31.      By and through their Second Amended Original Complaint, Plaintiffs plead that

Defendants prohibited Plaintiffs from working for other employers, imposed strict confidentiality

upon Plaintiffs regarding their employment terms and conditions, and imposed strict

confidentiality on their work product.

        32.      By and through their Second Amended Original Complaint, Plaintiffs plead that

Defendants treated Plaintiffs as a de jure independent contractors.

        33.      By and through their Second Amended Original Complaint, Plaintiffs plead that

they were, as a matter of “economic reality,” de facto employees entitled to the protections

afforded by the FLSA including minimum and overtime wage compensation.

        34.      Upon information and belief, Plaintiffs plead that Defendants maintained an array

of benefits available to employees, as that term is defined by ERISA. These benefits included,

but are not limited to, pension, retirement, profit-sharing, and medical and health insurance.

Centene provided employees a Summary Plan Description15 that described retirement benefits

and other benefits available upon an employee’s death, disability, or termination of

employment.16 The Summary Plan Description clearly states, “You are eligible to participate in

the Plan if you are an Employee.”17 The Summary Plan Description further states, “You are not

eligible to participate if you are an individual who is a signatory to a contract, letter of



dated 2013, which is incorporated by reference into this Complaint as if fully set forth herein.
15
   See Exhibit 13, Summary Plan Description, which is incorporated by reference into this Complaint as if fully set
forth herein.
16
   See Exhibit 13, Summary Plan Description, which is incorporated by reference into this Complaint as if fully set
forth herein.

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agreement, or other document that acknowledges your status as an independent contractor not

entitled to benefits under the Plan and you are not otherwise classified by the Employer as a

common law employee or the Employer does not withhold income taxes, file Form W-2 (or any

replacement form, or remit Social Security payments to the Federal government for you, even if

you are later adjudicated to be a common law employee.”18                   In 2013, 2014, and 2015,

Defendants offered “12 month employees” the option to participate in their health insurance

PPO, heath insurance HDHP, dental insurance, vision insurance, supplemental term life

insurance, accidental death and dismemberment insurance, and long-term disability insurance

plans.19    Defendants directly offered retirement and insurance benefits to employees and

specifically excluded contract employees, such as Plaintiffs.

        35.     Defendants held, jointly and severally, fiduciary responsibilities over the

aforementioned plans for employees because they, through unknown and yet unnamed

administrators, exercised discretionary control or authority over retirement and insurance plan

management or assets, held discretionary control or authority for the administration of their

plans, or provided investment advice regarding eligibility, benefits, or compensation.

Defendants, jointly and severally, by act or omission, acted through plan trustees, plan

administrators, and/or members of an investment or insurance committee regarding the

aforementioned retirement and insurance plans.

        36.     When Plaintiffs signed the Sales Rep and Exclusive Independent Sales Agent


17
    See Exhibit 13, Summary Plan Description Section II. Participation, p. 000983, which is incorporated by
reference into this Complaint as if fully set forth herein.
18
     See Exhibit 13, Summary Plan Description Section II. Participation, p. 000983, which is incorporated by
reference into this Complaint as if fully set forth herein.
19
    See Exhibit 14, Centene Corporation Benefit Costs Sheets, 000153; 000517; 000871 – 000873, which is
incorporated by reference into this Complaint as if fully set forth herein.

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Agreements, Defendants advised them that they were independent contractors and that they were

ineligible for pension, retirement, profit-sharing, and medical and health insurance benefits.

Relying on these misrepresentations to their detriment, Plaintiff proceeded to work for

Defendants under the false pretense that they were ineligible for these benefits. Consequently,

Plaintiffs did not seek or request enrollment in Defendants’ pension, retirement, profit-sharing,

and medical and health insurance plans. Defendants offered these benefits to other employees,

but did not offer them to Plaintiffs.

       37.     By and through their Second Amended Original Complaint, Plaintiffs plead that

Defendants, and their employees, agents, and representatives, intentionally and willfully

deprived them of the opportunity to participate in their pension, retirement, profit-sharing, and

medical and health insurance plans under ERISA.         In the alternative, Plaintiffs plead that

Defendants, through act or omission, deprived them of the opportunity to participate in their

pension, retirement, profit-sharing, and medical and health insurance plans under ERISA.

       38.     By and through their Second Amended Original Complaint, Plaintiffs plead that

Defendants, and their employees, agents, and representatives, failed to provide them statutory

written notice of their rights under COBRA.

                                      V.
                                - COUNT ONE -
                 VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

       39.     The FLSA provides, inter alia, that all employees are entitled to a minimum wage

for the first forty hours worked in a workweek. The FLSA also provides that all employees are

entitled to overtime pay, at a rate not less than one-half times the regular rate, for all hours

worked in excess of forty hours in a workweek.



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        40.    By and through their Second Amended Original Complaint, Plaintiffs plead that,

although Defendants ostensibly contracted with Plaintiffs as “independent contractors,” they

were, as a matter of “economic reality,” bona fide employees entitled to the full protections of

the FLSA, including overtime compensation for all hours worked more than forty in each

workweek. More specifically, Plaintiffs contend that Defendants retained the final authority to

hire and fire, that Defendants retained the final authority to supervise and control their work

schedules, that Defendants retained the final authority to determine their rates and method of

payments, and that Defendants maintained employment records.

        41.    By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants did not employ Plaintiffs in a bona fide executive, professional, or

administrative capacity.

        42.    By and through their Second Amended Original Complaint, Plaintiffs contend

that they are not otherwise exempt from the FLSA because they were employed as “outside

salesmen,” or in any other exempt capacity.

        43.    By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants did not pay all regular wages due and owing to Plaintiffs, in violation of the

FLSA.

        44.    By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants did not pay all overtime wages due and owing to Plaintiffs, in violation of the

FLSA.

        45.    By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants failed to make, keep and preserve records documenting Plaintiffs’ hours worked



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and wages due.

       46.      By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants’ failure to pay Plaintiffs was a willful and intentional violation of the FLSA.

More specifically, Plaintiffs contend that Defendants failed to act in good faith and did not

reasonably believe that Plaintiffs were independent contractor or exempt employees. Plaintiffs

further contend that Defendants are, jointly and severally, “repeat offenders” of the FLSA and

have a demonstrated pattern and practice of depriving employees of regular and overtime

benefits.

       47.      By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants’ willful and intentional violations constitute “continuing violations” of the

FLSA, thereby extending the applicable statute of limitations from two to three years. Further,

Plaintiffs invoke all statutory and judicial expansions of the applicable statute of limitations

under Ledbetter v. Goodyear Tire & Rubber Co.

       48.      By and through their Second Amended Original Complaint, Plaintiffs request that

the Court assess liquidated damages in an amount equal to the regular and overtime wages due

and owing by Defendants to Plaintiffs because they willfully and intentionally violated the FLSA

and are “repeat offenders”.

       49.      Plaintiffs were compelled to employ the undersigned attorneys to prosecute their

claims to judgment. Accordingly, Plaintiffs seek to recover reasonable and necessary attorney’s

fees and taxable costs of court.




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                                VI.
                           - COUNT TWO -
    VIOLATIONS OF THE EMPLOYEE RETIREMENT INCOME SECURITY ACT

       50.     ERISA protects employees, such as Plaintiffs by, inter alia, establishing

minimum standards for pension, retirement, profit-sharing, and health insurance plans

administered by private employers, such as Defendants. Defendants were under the continuing

and present obligation to notify Plaintiffs that they were eligible participants in Defendants’

pension, retirement, profit-sharing, and health insurance plans, to provide Plaintiffs with relevant

information about the features of such plans, and to assist Plaintiffs in enrolling in such plans so

that they could recover such benefits.

       51.     Defendants were the employers of Plaintiffs because they exercised their “right to

control” Plaintiffs under the traditional and common law master-servant relationship.

Defendants exercised their right to control Plaintiffs by establishing the skills required,

furnishing instrumentalities and tools to perform the work requested, defining the location where

the work was to be performed, setting the duration of the employer-employee relationship,

retaining the right to assign additional job duties and responsibilities, exercising control over the

work day, defining the method and frequency of payment, retaining the power to hire and fire,

and providing employee benefits.

       52.     By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants had actual and/or constructive knowledge that they intentionally misclassified

Plaintiffs as “independent contractors” when, in fact, Plaintiffs were employees.           Further,

Plaintiffs contend that Defendants failed to conduct a reasonably prudent or diligent investigation

into their status as employees and, in doing so, failed or refused to extend all available ERISA



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eligibility and benefits to Plaintiffs.

        53.     By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants as fiduciaries, and those presently unknown and unnamed fiduciaries acting in

concert with Defendants and who exercised discretionary control over the operation or

administration of Defendants’ ERISA plans breached their fiduciary duties to Plaintiffs.

Defendants, as joint and several fiduciaries, held the primary responsibility to operate and

manage their retirement and insurance plans solely in the interest of participants and

beneficiaries and for the exclusive purpose of providing benefits and paying plan expenses.

Defendants, jointly and severally, were obligated to act prudently, to avoid conflicts of interests,

and to avoid transactions that prejudiced employees and potential participants such as Plaintiffs

while enriching themselves.        More specifically, Defendants knowingly or recklessly made

materially false, misleading and fraudulent statements and representations to Plaintiffs about

their status as employees and their eligibility for all plan benefits offered by Defendants. In

making such materially false, misleading and fraudulent statements, Defendants breached their

fiduciary duty to Plaintiffs, breached their duty of loyalty to Plaintiffs, and engaged in self-

dealing by prioritizing their financial and economic interests above all.         As a direct and

proximate result of Defendants’ willful and intentional actions, Plaintiffs suffered significant

financial losses and harms.

        54.     By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants as fiduciaries, and those presently unknown and unnamed co-actors and co-

conspirators, such as plan advisors or other similarly situated third-parties, assisted fiduciaries,

such as Defendants, to breach their fiduciary duties to Plaintiffs. More specifically, Defendants



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breached their fiduciary duties to Plaintiffs, the Defendants had actual or constructive knowledge

that the activity of the fiduciary was improper, and the Plaintiffs suffered significant financial

losses and harms.

       55.     By and through their Second Amended Original Complaint, Plaintiffs contend

that Defendants, and those presently unknown and unnamed co-actors and co-conspirators, such

as plan advisors or other similarly situated third-parties, assisted fiduciaries, such as Defendants,

to interfere with Plaintiffs’ attainment of rights provided under ERISA. More specifically,

Defendants interfered with Plaintiffs’ right to enroll and participate in Defendants’ pension,

retirement, profit-sharing, and health insurance plans and terminated Plaintiffs to prevent them

from acquiring pension, retirement, profit-sharing, and health insurance plan benefits. As a

direct and proximate result of Defendants’ willful and intentional actions, Plaintiffs suffered

significant financial losses and harms.

       56.     By and through their Second Amended Original Complaint, Plaintiffs assert

common law ERISA claims against all Defendants for restitution, indemnification and

contribution, and estoppel in favor of Plaintiffs to enforce benefits.

       57.     Plaintiffs were compelled to employ the undersigned attorneys to prosecute their

claims to judgment. Accordingly, Plaintiffs seek to recover reasonable and necessary attorney’s

fees and taxable costs of court.

                                       VII.
                                 - COUNT THREE -
                        VIOLATIONS OF THE CONSOLIDATED
                       OMNIBUS BUDGET RECONCILIATION ACT

       58.     COBRA imposes obligations on employers to, inter alia, provide notice to plan

administrators of all qualifying events affecting participants in group health plans, such as


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Plaintiffs.   As employees, Plaintiffs would have been qualified beneficiaries for COBRA

continuation coverage. Defendants were under the continuing and present obligation to notify

their plan administrators that it had terminated Plaintiffs.

        59.     By and through their Second Amended Original Complaint, Plaintiffs plead that

Defendants and their plan administrators failed to provide them notice of their COBRA rights

upon termination of employment. As such, Defendants and their plan administrators deprived

Plaintiffs of their right to exercise any benefits available to them, such as the right to

continuation coverage under the COBRA election period.

        60.     By and through their Second Amended Original Complaint, Plaintiffs plead that

Defendants actions were willful and rose to the level of gross misconduct.

        WHEREFORE, PREMISES CONSIDERED, PLAINTIFFS EUGENE MARTINEZ,

DAVID SILVA, MARIO OLIVAREZ, RUBY MARTINEZ, and SYLVIA TREVINO, pray that,

upon final trial on the merits, they recover judgment against DEFENDANTS SUPERIOR

HEALTHPLAN, INC. and CENTENE CORPORATION, said judgment entitling Plaintiffs to:

        1.      Compensation for all damages suffered by Plaintiffs, including, but not limited to,
                unpaid regular and overtime wages, and other compensation to be determined
                upon inquest;

        2.      Statutory remedies available under the FLSA, ERISA, and COBRA;

        3.      Fringe benefits including, but not limited to, pension and retirement benefits,
                stock options, savings plans, cafeteria plan benefits, profit-sharing benefits, and
                medical and life insurance benefits.

        4.      Equitable remedies including, but not limited to estoppel, restitution, the
                imposition of constructive trusts, disgorgement of ill-gotten gains, and all
                available injunctive relief;

        5.      Liquidated damages to be determined upon inquest;



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      6.    Excise taxes and penalties provided under COBRA;

      7.    Punitive, exemplary and surcharge damages;

      8.    Reasonable and necessary attorney’s fees;

      9.    Taxable costs of court;

      10.   Pre-judgment and post-judgment interest at the maximum rate permitted by law;

      11.   All taxable costs of court expended in this lawsuit; and

      12.   Such other and further relief, either at law or equity, to which Plaintiffs may be
            justly entitled.

PLAINTIFFS HEREBY REQUEST TRIAL BY JURY.

                                  Respectfully submitted,

                                  SÁNCHEZ & WILSON, P.L.L.C.
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                                  6243 IH 10 West, Suite 1025
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                                  ATTORNEYS FOR PLAINTIFFS

                                  By: /s/ Mark Anthony Sánchez
                                      MARK ANTHONY SÁNCHEZ, ESQ.
                                      TEXAS STATE BAR NO. 00795857

And

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                                  ATTORNEYS FOR PLAINTIFFS

                                  By: /s/ Aric J. Garza
                                      ARIC J. GARZA, ESQ.
                                      TEXAS STATE BAR NO. 50511848


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                                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
Plaintiffs’ Second Amended Original Complaint has been delivered via E-File Notification on
this the 24th day of October, 2017 to G. Mark Jodon, Esq, Littler Mendelson, P.C., 1301
McKinney Street, Suite 1900, Houston, Texas 77010.


                                                            /s/ Mark Anthony Sánchez
                                                            MARK ANTHONY SANCHEZ, ESQ.


                                        NOTICE OF ELECTRONIC FILING

       The undersigned counsel hereby certifies that he has electronically submitted for filing a
true and correct copy of the above and foregoing in accordance with the Electronic Case Files
System of the Western District of Texas on the 24th day of October 2017.


                                                       /s/ Mark Anthony Sánchez
                                                       MARK ANTHONY SANCHEZ, ESQ.




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